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                                   Exhibit B

                      Schedule of ADR/ACR Eligible Claims
                                  Case:17-03283-LTS Doc#:14693-2 Filed:10/20/20 Entered:10/20/20 17:16:22                                                     Desc:
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                                                                   One Hundred and Forty-First Omnibus Objection
                                                                  Exhibit B - Schedule of ADR/ACR Eligible Claims
                                                                                                                                                                                       ASSERTED CLAIM
    NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
1   MALDONADO RIVERA, MARIA DEL CARMEN                                                      6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      133878          Undetermined*
    URB. MAGNOLIA GARDEN'S
    019 CALLE 18
    BAYAMON, PR 00956

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
2   MALDONADO RIVERA, MARIA DEL CARMEN                                                      6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      138860          Undetermined*
    URB. MAGNOLA GARDEN'S 019 - CALLE 18
    BAYAMON, PR 00956

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
3   MALDONADO RIVERA, MARIA DEL CARMEN                                                      6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      130675          Undetermined*
    URB. MAGNOLIA GARDENS
    O 19 - CALLE 18
    BAYAMON, PR 00956

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
4   MALDONADO RODRIGUEZ, WIDALIZ                                                            6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      125989          Undetermined*
    URB. MAGORAL CALLE TRAPICHE A-14 12109
    VILLALBA, PR 00766

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
5   MALDONADO RODRIGUEZ, WIDALIZ                                                            6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      127046          Undetermined*
    URB. MAYORAL CALLE TRAPICHE A-14 12109
    VILLALBA, PR 00766

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
6   MARCUCCI RAMIREZ, EDGARDO                                                               7/23/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      145332             $ 13,800.00*
    PO BOX 377
    PENUELAS, PR 00624

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
7   MARCUCCI RAMIREZ, EDGARDO                                                               7/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      160238          Undetermined*
    P.O. BOX 377
    PENUELAS, PR 00624

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors


            * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 1 of 7
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                                                                    One Hundred and Forty-First Omnibus Objection
                                                                   Exhibit B - Schedule of ADR/ACR Eligible Claims
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
8    MARCUCCI RAMIREZ, EDGARDO                                                               7/23/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      161606          Undetermined*
     P.O. BOX 377
     PENUELAS, PR 00624

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
9    MARIANI GUEVARA, VIOLETA                                                                6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      137422          Undetermined*
     P.O. BOX 138
     PATILLAS, PR 00723

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
10   MARTINEZ FONTANEZ, RUBEN                                                                 7/2/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      152940          Undetermined*
     URB. JARDINES DE GUAMANI
     CC-24 17
     GUAYAMA, PR 00784

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
11   MARTINEZ GARCIA, ROSA H.                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      152569          Undetermined*
     RR-8 BOX 9131
     BAYAMON, PR 00956

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
12   MARTINEZ LANAUSSE, ESTHER                                                               6/29/2018      17 BK 03566-LTS Employees Retirement System of the               139735          Undetermined*
     #153 CALLE: VICTORIA MATEO                                                                                             Government of the Commonwealth
     SALINAS, PR 00751                                                                                                      of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
13   MARTINEZ LANAUSSE, YOLANDA                                                              6/28/2018      17 BK 03566-LTS Employees Retirement System of the               117576          Undetermined*
     LA ARBOLEDA                                                                                                            Government of the Commonwealth
     C/18 #204                                                                                                              of Puerto Rico
     SALINAS, PR 00751

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 2 of 7
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                                                                    One Hundred and Forty-First Omnibus Objection
                                                                   Exhibit B - Schedule of ADR/ACR Eligible Claims
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
14   MARTINEZ ORTIZ, MIRIAM                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      112425          Undetermined*
     22 URB. JARDINES DE BUENA VISTA
     CAYEY, PR00736

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
15   MARTINEZ RUIZ, GLORIA M                                                                  7/2/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      163869              $ 30,000.00
     HC 7 BOX 27037
     MAYAGUEZ, PR 00680

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
16   MARTINEZ RUIZ, GLORIA M.                                                                 7/2/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      119674              $ 15,000.00
     HC 07 BOX 27037
     MAYAGÜEZ, PR 00680

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
17   MARTINEZ RUIZ, MARGARITA DEL P.                                                         6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      153901          Undetermined*
     CONDOMINIO BAYSIDE COVE
     105 AVE. ARTERIAL HOSTOS APARTADO153
     SAN JUAN, PR 00918-2923

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
18   MARTINEZ TIRADO, LUZ M.                                                                 6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      162790          Undetermined*
     P.O. BOX 1933
     YABUCOA, PR 00767-1933

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
19   MARTINEZ ZAYAS, WANDA E.                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      115327          Undetermined*
     P.O. BOX 10000 - 109
     CAYEY, PR00737

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
20   MARTORELL VAZQUEZ, JOSE R.                                                              6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      122313          Undetermined*
     URB LA RIVIERA E-5
     ARROYO, PR 00714

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors



             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 3 of 7
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                                                                    One Hundred and Forty-First Omnibus Objection
                                                                   Exhibit B - Schedule of ADR/ACR Eligible Claims
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
21   MAS MORALES, MARIBEL                                                                     7/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      145855          Undetermined*
     PO BOX 403
     LAS MARIAS, PR 00670

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
22   MAS MORALES, MARIBEL                                                                     7/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      156230          Undetermined*
     P.O. BOX 403
     LAS MARIAS, PR 00670

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
23   MATEO TORRES, MARIA M.                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      134763          Undetermined*
     HC-04 BOX 6045
     COAMO, PR 00769

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
24   MATEO TORRES, MARIA M.                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      155149          Undetermined*
     HC-04 BOX 6045
     COAMO, PR 00769

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
25   MATOS MATOS, CARMEN E.                                                                  6/22/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      129899          Undetermined*
     2115 CALLE MOTILLO
     URB. LOS CAOBOS
     PONCE, PR 00716

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
26   MATOS MATOS, CARMEN L.                                                                   7/6/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      158116             $ 18,000.00*
     CALLE FABREGOS #50
     MAYAGUEZ, PR 00680

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
27   MEDINA DIAZ, CARMEN M.                                                                   7/3/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      139534          Undetermined*
     URB. VILLA PALMIRA CALLE 4 D-78
     PUNTA SANTIAGO, PR 00741

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors



             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 4 of 7
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                                                                    One Hundred and Forty-First Omnibus Objection
                                                                   Exhibit B - Schedule of ADR/ACR Eligible Claims
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
28   MEDINA LOPEZ, GLORICELA                                                                  7/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      156053              $ 19,200.00
     HC-04 BOX 47786
     MAYAGUEZ, PR 00680

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
29   MEJIAS SOTO, ADAMILA                                                                    6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      145791          Undetermined*
     2187 CALLE NARANJO
     URB. LOS CAOBOS
     PONCE, PR 00716

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
30   MELENDEZ ALSINA, ELIZABETH                                                              6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      134631          Undetermined*
     HC 73 BOX 6164
     CAYEY, PR00736

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
31   MELENDEZ COLON, FRANCISCO                                                               6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      139852          Undetermined*
     HC 2 BOX 5878
     SALINAS, PR 00751

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
32   MELENDEZ ROSADO, YOLANDA                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      162925          Undetermined*
     PO BOX 11998 SUITE # 178
     CIDRA, PR 00739

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
33   MELENDEZ VEGA, DOMINGO                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      116244          Undetermined*
     HC 1 BOX 4314
     ARROYO, PR 00714

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
34   MERCADO GALINDO, MOISES M                                                                6/8/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      166298             $ 16,800.00*
     BOX 1583
     SAN GERMAN, PR 00683

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors



             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 5 of 7
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                                                                    One Hundred and Forty-First Omnibus Objection
                                                                   Exhibit B - Schedule of ADR/ACR Eligible Claims
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
35   MERCADO MERCADO, DIANA E.                                                               7/23/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      160952              $ 30,000.00
     URB. CONSTANCIA CALLE SOUER 3055
     PONCE, PR 00717

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
36   MIRANDA MARTINEZ, ANIBAL                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      144449          Undetermined*
     P.O. BOX 1036
     NAGUABO, PR 00718

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
37   MIRANDA MARTINEZ, ANIBAL                                                                 7/3/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      141491          Undetermined*
     PO BOX 1036
     NAGUABO, PR 00718

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
38   MIRANDA TORRES, AMARILIS                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      118721          Undetermined*
     PO BOX 1036
     NAGUAGO, PR 00718

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
39   MIRANDA TORRES, AMARILIS                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      127795          Undetermined*
     PO BOX 1036
     NAGUABO, PR 00718

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
40   MOJICA CRUZ, ANA DEVORA                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      118678             $ 80,000.00*
     BOX 1756
     YABUCOA, PR 00767

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
41   MOJICA CRUZ, ELIZABETH                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      125569             $ 80,000.00*
     PO BOX 142
     PUNTA SANTIAGO, PR 00741

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 6 of 7
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                                                                    One Hundred and Forty-First Omnibus Objection
                                                                   Exhibit B - Schedule of ADR/ACR Eligible Claims
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
42   MOJICA CRUZ, ELIZABETH                                                                  6/28/2018      17 BK 03566-LTS Employees Retirement System of the               167625              $ 80,000.00
     PO BOX 1142                                                                                                            Government of the Commonwealth
     PTA STYO, PR 00741                                                                                                     of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
43   MOJICA CRUZ, NORMA I                                                                    6/29/2018      17 BK 03566-LTS Employees Retirement System of the               152609             $ 50,000.00*
     URB VERDE MAR                                                                                                          Government of the Commonwealth
     CALLE TURMALINAS #459                                                                                                  of Puerto Rico
     HUMACAO, PR 00741

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
44   MOJICA CRUZ, NORMA I.                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      147245             $ 50,000.00*
     URB. VERDE MAR
     CALLE TURMALINAS #459
     HUMACAO, PR 00741

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
45   MULLER ARROYO, JUANITA                                                                   7/6/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      160219               $ 4,800.00
     BOX 6168
     MAYAGUEZ, PR 00681

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
                                                                                                                                                                       TOTAL                    $ 487,600.00*




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 7 of 7
